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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES                                    :
                                                 :
 v.                                              :
                                                 :          Crim. No. 21-CR-0041(CJN)
MICHAEL CURZIO,                                  :
                                                 :
       Defendant.                                :


                   DEFENDANT’S RESPONSE TO GOVERNMENT’S
              SUPPLEMENTAL OPPOSITION TO DEFENDANT’S MOTION
               FOR MODIFICATION OF PRETRIAL DETENTION ORDER

               Defendant Michael Curzio (“Curzio”), by and though undersigned counsel,

hereby submits his Response to the Government’s Supplemental Opposition to Defendant’s

Motion for Modification of Pretrial Detention Order and states as follows:

                                        BACKGROUND

               For the purposes of this response, and without conceding any factual allegations,

Mr. Curzio concurs with the government’s statement of the procedural posture of this matter.

See Gov. Supp. at 3-6. Relevant to this response, the Court has directed the parties to address

two issues:

       1)      Whether Mr. Curzio, waived his right to object to the Court’s consideration of

dangerousness in a bond review motion if he did not initially object to the Magistrate Judge’s

consideration of that factor when ruling on the government’s detention motion pursuant to 18

U.S.C. § 3142(f)(2); and

       2)      Whether the Court can consider all the 18 U.S.C. § 3142(g) factors, including

dangerousness, if the government initially requested detention pursuant to 18 U.S.C. §

3142(f)(2).
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For the reasons that follow, Mr. Curzio did not waive his right and the Court should not consider

dangerousness in setting conditions of release.

                                           ARGUMENT

       A.      Mr. Curzio Did Not Waive an Objection to the Magistrate Judge’s
               Consideration of His Alleged Dangerousness When Ruling on the
               Government’s Detention Motion Pursuant to 18 U.S.C. § 3142(f)(2) Because
               Review of the Detention Order is De Novo

               Pursuant to 18 U.S.C. § 3145(b):

       If a person is ordered detained by a magistrate judge, or by a person other than a
       judge of a court having original jurisdiction over the offense and other than a
       Federal appellate court, the person may file, with the court having original
       jurisdiction over the offense, a motion for revocation or amendment of the order.
       The motion shall be determined promptly.

18 U.S.C. § 3145(b). A district judge’s review of a magistrate judge’s detention decision is de

novo. See United States v. Hunt, 240 F. Supp. 3d 128, 132-33 (D.D.C. 2017); United States v.

Taylor, 289 F. Supp. 3d 55, 63 (D.D.C. 2018). See, e.g., United States v. Koenig, 912 F.2d 1190,

1191 (9th Cir. 1990) (citing cases from the Second, Third, Fifth, Eighth, and Eleventh Circuits,

which all hold that the district court should conduct a de novo review of the Magistrate Judge's

detention decision); United States v. Stewart, 19 F. App'x 46, 48 (4th Cir. 2001); United States

v. Hazime, 762 F.2d 34, 36 (6th Cir. 1985).

               “De novo means …, as it ordinarily does, a fresh, independent determination of

‘the matter’ at stake; the court’s inquiry is not limited to or constricted by” the prior record.

Greenpeace, Inc. v. Dep't of Homeland Sec., 311 F. Supp. 3d 110, 124 (D.D.C. 2018) (citing Doe

v. United States, 821 F.2d 694, 697-98 (D.C. Cir. 1987) (en banc)). The “reviewing district court

therefore undertakes the analysis outlined in § 3142, … without any deference to the magistrate

judge’s findings.” United States v. Chrestman, 2021 U.S. Dist. Lexis 361117 at *15 (D.D.C.

Feb. 26, 2021) (C.J. Howell) (Case 21-MJ-218 (ZMF)).



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               While it is correct that Mr. Curzio did not argue that the government had not

established a basis for a detention hearing pursuant to § 3142(f)(2)(A), this Court, under the de

novo standard of review, should conduct a fresh, independent determination that gives no

deference to Magistrate Judge Lammens’ prior determination. In this fresh and independent

review of the matter, Mr. Curzio objects to the consideration of any “dangerousness” factors in

ruling upon the government’s detention motion pursuant to § 3142(f)(2)(A) and this Court, under

de novo review, can consider the present objection.

       B.      The Magistrate Judge Erred in Considering Dangerousness When
               Determining Whether a Detention Hearing Was Appropriate And Should
               Not Consider Dangerousness When Setting Conditions of Release

               The Bail Reform Act carefully limits the circumstances under which detention

may be sought to the most serious of crimes. See, e.g., United States v. Salerno, 481 U.S. 739,

747 (1987). Under the Bail Reform Act, courts “shall hold” detention hearings in two instances.

First, when the case involves any one of the enumerated serious offenses outlined in § 3142(f)(1)

– cases involving allegations of particularly dangerous criminal activity that are not at issue here.

Second, when “serious” concerns about risk of flight or obstruction of justice are present. See 18

U.S.C. § 3142(f)(2). United States v. Gibson, 384 F.Supp.3d 955, 960 (N.D. Ind. 2019). “There

can be no detention hearing – and therefore no detention – unless an (f)(1) or (f)(2) criterion is

met.” Id. See also United States v. Singleton, 182 F.3d 7, 9 (D.C. Cir. 1999) (absent one of the

triggering circumstances, “detention is not an option”). Normally, once one of these conditions

is met, a hearing is held “to determine whether any condition or combination of conditions . . .

will reasonably assure the appearance of such person as required and the safety of any other

person and the community.” § 3142(f).




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               In United States v. Himler, the Third Circuit considered “whether, under the Bail

Reform Act of 1984, an accused taken into custody may be detained prior to trial based on

danger to the community where the detention hearing was justified only by an alleged serious

risk of flight pursuant to 18 U.S.C. § 3142(f)(2)(A),” Himler, 797 F.2d at 157. Thus, Himler

addressed the precise issue before this Court. Himler was charged with production of a false

identification document and the government moved for detention pursuant to 18 U.S.C. §

3142(f)(2). Id. at 158. The Third Circuit noted that the “legislative history of the Bail Reform

Act of 1984 makes clear that to minimize the possibility of a constitutional challenge, the

drafters aimed toward a narrowly-drafted statute with the pretrial detention provision addressed

to the danger from ‘a small but identifiable group of particularly dangerous defendants.’”

Himler, 797 F.2d 160 (citing S. Rep. No. 225, 98th Cong., 1st Sess. 20 (1983)).


               The Third Circuit found that “Himler’s case does not involve any of the offenses

specified in subsection (f)(1), nor has there been any claim that he would attempt to obstruct

justice or intimidate a witness or juror” and held that


       the statute does not authorize the detention of the defendant based on danger to
       the community from the likelihood that he will if released commit another offense
       involving false identification. Any danger which he may present to the
       community may be considered only in setting conditions of release. He may be
       detained only if the record supports a finding that he presents a serious risk of
       flight.”

Id. at 160. See also Gibson, 384 F. Supp.3d at 964 (“the Court will not consider the danger

Gibson poses to the community because consideration of dangerousness is improper where, as is

the case here, the sole ground for detention is 18 U.S.C. § 3142(f)(2)(A)”); United States v.

Chavez-Rivas, 536 F.Supp.2d 962, 968 (E.D. Wisc. 2008) (“detention as a danger is permitted

only in cases covered by § 3142(f)(1)”).



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                  The government relies on United States v. Singleton, 182 F.3d 7 (D.C. Cir. 1999)

and United States v. Holmes, 438 F. Supp.2d 1340 (S.D. Fla. 2005) for the proposition that a

court should consider all the § 3142(g) factors when making detention determinations regardless

of whether detention is sought under § 3142(f)(1) or (f)(2). Singleton is inapposite because it

concerned a triggering factor under § 3142(f)(1) and not under § 3142(f)(2) as is the case here.

Holmes, on the other hand, deals squarely with the issue at hand. However,


         The Holmes interpretation runs into the very problem Salerno indicated was not present
         in the Bail Reform Act. That is, this broad reading of the Bail Reform Act has the
         potential to apply the Act to a nearly limitless range of cases, thereby raising
         constitutional concerns under the Due Process Clause of the Fifth and Eighth
         Amendment’s ban on excessive bail. … Any reading of the Bail Reform Act that
         allows danger to the community as the sole ground for detaining a defendant where
         detention was moved for only under (f)(2)(A) runs the risk of undercutting one of the
         rationales that led the Salerno Court to uphold the statute as constitutional. Because of
         this potential constitutional issue and because the Himler interpretation is another plain
         language interpretation of the Bail Reform Act that involves no such constitutional
         issue, the Court will not follow the Holmes interpretation. ‘[W]hen deciding which of
         two plausible statutory constructions to adopt, a court must consider the necessary
         consequences of its choice. If one of them would raise a multitude of constitutional
         problems, the other should prevail.’ Moreover, the Court does find that the Himler line
         of cases reads the statute in a more natural manner.

Gibson, 384 F.Supp.3d 964 (citations omitted).

                  Here, the government initially moved for detention pursuant to 18 U.S.C. §

3142(f)(2) arguing that Mr. Curzio was “eligible for detention only upon a showing that he is a

risk of flight” or § 3142(f)(2)(A). (Tr. 1/19/21 at 5).1 Magistrate Judge Lammens did not make

an initial determination whether a hearing was warranted in the first place. However, there can

be no detention hearing unless a § 3142(f)(1) or (f)(2) factor is present. See Gibson, 384

F.Supp.3d at 960. Had he made that determination, the next step for the Court is to determine


1
 The government made no mention whether it was also proceeding pursuant to § 3142(f)(2)(B) (serious risk of
obstruction). In its supplemental opposition, the government notes that it “does not rely on dangerousness as the
basis for a detention hearing.” Doc. 34 at 10 n.5.


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whether the government has shown by a preponderance of the evidence that there is no condition

or combination of conditions that will reasonably assure the defendant’s appearance as required.

See Himler, 797 F.2d at 161; Gibson, 384 F.Supp.3d at 965; Chavez-Rivas 536 F.Supp.2d at 968.

Magistrate Lammens nevertheless held a detention hearing where he considered allegations of

Mr. Curzio’s alleged dangerousness in finding by clear and convincing evidence that there were

no conditions of combination of conditions that would reasonably assure the safety of a person or

the community were Mr. Curzio to be released. The magistrate also found by a preponderance of

the evidence that there were no conditions of combination of conditions that would reasonably

assure his presence if released. (Tr. 1/19/21 at 26). In effect, the magistrate judge considered all

the § 3142(g) factors before even considering if a hearing was appropriate.


                                         CONCLUSION


               WHEREFORE, for all the foregoing reasons, and any others that may appear to

the Court, Mr. Curzio respectfully requests that his Motion for Modification of Pre-Trial

Detention Order be GRANTED.


Dated: Washington, DC
       March 3, 2021                          BALAREZO LAW

                                                     /s/
                                      By:     ____________________________________
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                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on this 3rd day of March 2021, I caused a true and

correct copy of the foregoing Defendant’s Supplement to Motion for Modification of Pre-Trial

Detention Order and Memorandum of Points and Authorities in Support Thereof to be delivered

to the parties in this matter via Electronic Case Filing (ECF).


                                                            /s/
                                                      ______________________________
                                                      A. Eduardo Balarezo




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